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                          UNITED STATED JUDICIAL PANEL
                                      ON
                           MULTIDISTRICT LITIGATION


IN RE: OIL SPILL BY THE OIL RIG                              MDL No. 10MD2179
DEEPWATER HORIZON IN THE GULF OF
MEXICO, ON APRIL 20, 2010                                            SECTION: J

This Document Relates to:

Murray, et al v. BP, PLC, et al:                11cv2886
Jenmar Investments, LLC v. BP, PLC, et al:      11cv2887
JSOCO, LLC v. BP, PLC, et al:                   11cv2888
Yentzen, PLLC v. BP, PLC, et al                 11cv2889
Owen v. BP, PLC, et al                          11cv2890


        ORDER FOR ADDITIONAL TIME FOR SERVICE OF COMPLAINT

       On Plaintiffs’ Motion for Additional Time for Service of Complaint requesting an

additional forty-five (45) days in which to effect service on the Defendant, BP, PLC in

this matter, the Court finds good cause has been demonstrated and the Motion should

be granted. It is therefore,

       ORDERED AND ADJUDGED that the Plaintiffs are hereby granted an additional

forty-five (45) days in which to effect service on the Defendant, BP, PLC.

       SO ORDERED AND ADJUDGED this the _____ day of ____________, 2012.


                                                ____________________________________
                                                UNITED STATES DISTRICT JUDGE
